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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

WEST EASTON TWO, LP,                                 :
                                                     :
                                Plaintiff,           :           CIVIL ACTION NO. 19-801
                                                     :
        v.                                           :
                                                     :
BOROUGH COUNCIL OF WEST                              :
EASTON and BOROUGH OF WEST                           :
EASTON,                                              :
                                                     :
                                Defendants.          :

        AND NOW, this 25th day of September, 2020, after considering (1) the motion for

summary judgment, concise statement of undisputed facts, and supporting brief filed by the

defendants, Borough Council of West Easton and Borough of West Easton (Doc. No. 14), (2) the

defendants’ separately filed exhibits in support of the motion for summary judgment (Doc. No.

16), (3) the response in opposition to the motion for summary judgment filed by the plaintiff, West

Easton Two, LP (Doc. No. 17), (4) the plaintiff’s separately filed exhibits in support of its response

in opposition to the motion (Doc. Nos. 18–28), (5) the defendants’ reply brief in support of their

motion for summary judgment (Doc. No. 30), (6) the plaintiff’s response to the defendants’

statement of undisputed facts (Doc. No. 38), (7) the defendants’ reply brief on the effect of the

resolution of the state court litigation on the instant litigation (Doc. No. 45), (8) the plaintiff’s brief

in further opposition to the motion for summary judgment regarding the limited impact of the

decision of the Northampton County Court of Common Pleas on the plaintiff’s case (Doc. No. 46);

and (9) the arguments of the parties’ counsel during the oral arguments held on January 23, 2020

and August 25, 2020; and for the reasons set forth in the separately filed memorandum opinion;

accordingly, it is hereby ORDERED as follows:

        1.       The defendants’ motion for summary judgment (Doc. No. 14) is DENIED; and
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       2.       The court will hold a telephone conference to discuss the schedule moving forward

in this matter on Thursday, October 1, 2020, at 11:00 a.m. Counsel for the parties shall call 1-

571-353-2300 and use pin 363973916# to enter the conference call.


                                                    BY THE COURT:



                                                    /s/ Edward G. Smith
                                                    EDWARD G. SMITH, J.




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